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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 NORFOLK DIVISION



 CARSON NEWBAUER,on behalf of himself,
 and all others similarly situated,
                                                 (CASE 1 of4)
        Plaintiff,

        V.                                       CIVIL NO.2:18cv679


 JACKSON HEWITT TAX SERVICE INC.,
 JACKSON HEWITT INC.,TAX SERVICES
 OF AMERICA,INC., BAYSIDE CAPITAL,
 INC.,and CORSAIR CAPITAL,LLC,

        Defendants.



 TOM ENDRES,LATONYA FIELDS,and
 LAURA METZ,on behalf of themselves and
 others similarly situated.
                                                 (CASE 2 of 4)
        Plaintiffs,

        V.                                       CIVIL NO.2:19cv37

 JACKSON HEWITT,INC.,JACKSON
 HEWITT TAX SERVICE INC.,and TAX
 SERVICES OF AMERICA,INC.,

        Defendants.



 JESSICA ROBINSON,on behalf of herself
 and other similarly situated.
                                                 (CASE 3 of 4)
        Plaintiff,

        V.
                                                 CIVIL NO.2:19cv44

 JACKSON HEWITT,INC.,JACKSON
 HEWITT TAX SERVICE INC., and TAX
 SERVICES OF AMERICA,INC.,

        Defendants.
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 NICOLE GIBSON,individually and on behalf
 of all others similarly situated,
                                                               (CASE 4 of 4)
         Plaintiff,

         V.                                                    CIVIL NO.2:19cv49


 JACKSON HEWITT TAX SERVICE INC.,
 JACKSON HEWITT INC.,TAX SERVICES
 OF AMERICA,INC., BAYSIDE CAPITAL,
 INC., and CORSAIR CAPITAL,LLC,

         Defendants.



                                     OPINION AND ORDER


         This matter comes before the Court on four Motions to Transfer filed by defendants

 Jackson Hewitt, Inc., Tax Services of America, Inc. and Jackson Hewitt Tax Service Inc. in each

 ofthe four above-captioned cases. For the reasons below,such motions are GRANTED,and each

 case is TRANSFERRED to the United States District Court for the District of New Jersey,

 Newark Division.


    I.        PROCEDURAL BACKGROUND

         Before the Court are four separate class action complaints brought against Jackson Hewitt,

 Inc., a tax preparation services company, and related entities alleging violations of the Sherman

 Act, 15 U.S.C. §§ 1,3, stemming from certain no-hiring and no-solicitation clauses contained in

 Jackson Hewitt, Inc.'s standard franchise agreements. These cases include:

         1. The Newbauer Case: On December 20,2018, plaintiff Carson Newbauer,on behalf of
            himself and other purported class members, filed a complaint against Jackson Hewitt
              Tax Service Inc., Jackson Hewitt Inc., Tax Services of America, Inc. (collectively
              referred to as the "Jackson Hewitt Defendants"), as well as Bayside Capital Inc., and
              Corsair Capital, LLC. S^ Case No. 2:I8cv679 (hereinafter, the "Newbauer Case"),
              ECF No. 1.

         2. The Endres Case: On January 18, 2019, plaintiffs Tom Endres and Latonya Fields, on
            behalf ofthemselves and other purported class members, filed a complaint against the
            three Jackson Hewitt Defendants. See Case No. 2:19cv37 (hereinafter, the "Endres
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             Case"), ECF No. 1. On February 11, 2019, plaintiffs amended their complaint to add
             a third plaintiff: Laura Metz. Idj ECF No. 10.

         3. The Robinson Case: On January 24, 2019, plaintiff Jessica Robinson, on behalf of
            herself and other purported class members, filed a complaint against the three Jackson
            Hewitt Defendants.       Case No. 2:19cv44 (hereinafter, the "Robinson Case"), ECF
             No. 1.

        4. The Gibson Case: On January 28, 2019, plaintiff Nicole Gibson, on behalf of herself
           and other purported class members,filed a complaint against the three Jackson Hewitt
           Defendants as well as Bayside Capital, Inc. and Corsair Capital, LLC.      Case No.
           2:19cv49(hereinafter, the "Gibson Case"), ECF No. 1.

         On January 29, 2019, plaintiffs in all four cases jointly moved to consolidate the actions

 pursuant to Fed. R. Civ. P. 42(a).'         Newbauer Case, ECF No. 28; Endres Case, ECF No. 6;

 Robinson Case, ECF No. 6; Gibson Case, ECF No. 8. The next day, plaintiffs jointly moved for

 entry ofa proposed "Case Management Order" designating interim lead co-counsel ofthe putative

 class pursuant to Fed. R. Civ. P. 23(g)(3). See Newbauer Case, ECF No. 28; Endres Case, ECF

 No. 8; Robinson Case, ECF No. 8; Gibson Case, ECF No. 10. On February 12, 2019, while these

 motions were pending, the Jackson Hewitt Defendants filed a motion to transfer pursuant to 28

 U.S.C. §§ 1406 and 1404(a) in each of the four cases.            Newbauer Case, ECF No. 38; Endres

 Case, ECF No. 11; Robinson Case, ECF No. 12; Gibson Case, ECF No. 22. Three days later, on

 February 15, 2019, the defendants in each case moved to stay the actions pending the Court's

 resolution of such motions to transfer.        Newbauer Case, ECF No. 44; Endres Case, ECF No.

 16; Robinson Case, ECF No. 18; Gibson Case, ECF No. 27.

         On February 20, 2019, by written Opinion and Order entered in each case, the Court

 granted the defendants' request for a stay, stayed each action pending resolution ofthe motions to

 transfer, directed the parties to set a prompt hearing on same, and held the plaintiffs' Motions to



'In this same motion, plaintiffs also moved for reassignment of the cases to the same district judge, but
 such request was rendered moot because all cases were assigned to the undersigned pursuant to the internal
 policies and practices of this Court conceming related cases.
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 Consolidate and Motions for Entry of Case Management Order in abeyance during the pendency

 of the stay. S]^ Newbauer Case, ECF No. 50; Endres Case, ECF No. 23; Robinson Case, ECF

 No. 23; Gibson Case, 32.

          On February 26, 2019, after the Newbauer Case was stayed, plaintiff Newbauer attempted

 to file without leave of Court an amended complaint, which purports to(1)add two new plaintiffs

 - Valerie Bias and Nicole Wink, both Virginia residents - and (2) remove the two non-Jackson

 Hewitt defendants, Bayside Capital, Inc. and Corsair Capital, LLC. Newbauer Case,ECF No. 51.

 Similarly, while the Gibson Case was stayed, Gibson attempted to file two Notices of Voluntary

 Dismissal purporting to dismiss Bayside Capital, Inc. and Corsair Capital, LLC as defendants.

 Gibson Case, ECF Nos. 46, 47. Additionally, on March 11, 2019, plaintiffs in each of the four

 cases attempted to file without leave of Court a Notice of Supplemental Authority with respect to

 the motions to transfer after the briefing schedule for said motions had expired. Newbauer Case,

 ECF No. 54; Endres Case, ECF No. 26; Robinson Case, ECF No. 28; Gibson Case, ECF No. 40.

          On March 14, 2019, the parties in the above-captioned actions appeared before the Court

 for ajoint hearing on the motions to transfer pending in each case. At the conclusion ofthe hearing,

 the Court took the motions under advisement. The Court also advised the parties that any

 attempted filings after the cases were stayed on February 20,2019, without the Court's leave, were

 procedurally defective and would not be considered by the Court. Accordingly, the attempted

 changes to the named parties in the Newbauer and Gibson Cases described above were not

 considered for purposes of deciding the pending motions to transfer. Such motions are now before

 the Court.


    11.       LEGAL STANDARD

          The Jackson Hewitt Defendants ask the Court to transfer each of the four cases to the

 United States District Court for the District ofNew Jersey, Newark Division pursuant to 28 U.S.C.
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 § 1406(a) or, in the alternative, pursuant to 28 U.S.C. § 1404(a). Section 1406(a) provides that, if

 venue is improper in the district or division in which an action is brought, the court "shall dismiss'*

 such action or, "if it be in the interest ofjustice, transfer such case to any district or division in

 which it could have been brought." 28 U.S.C. § 1406(a). Section 1404(a), by contrast, applies to

 actions in which venue is proper, but it nonetheless permits a court, in its discretion, to transfer a

 case "for the convenience of parties and witnesses," among other factors,"to any other district or

 division where it might have been brought." 28 U.S.C. § 1404(a). Therefore, while both § 1404

 and § 1406 permit transfer, they are "mutually exclusive." Convergence Techs.(USAT LLC v.

 Microloops Corp.. 711 F. Supp. 2d 626, 640 (E.D. Va. 2010)(quoting 14D Wright, Miller &

 Cooper, Federal Practice and Procedure § 3827, at 575 (internal citation omitted)).

         When a defendant objects to the propriety of venue under § 1406, the plaintiff bears the

 burden to prove that venue is proper, as is the case when a defendant files a motion to dismiss for

 improper venue under Fed. R. Civ. P. 12(b)(3). S^ Adhikari v. KBR.Inc.. No. 1:15cvl248,2016

 WL 4162012, at *3(E.D. Va. Aug.4,2016)(citing Bartholomew v. Va. Chiropractors Ass'n. Inc..

 612 F.2d 812, 816 (4th Cir. 1979), overruled on other grounds bv Union Labor Life Ins. Co. v.

 Pireno. 458 U.S. 119, 125 n.6 (1982)). By contrast, on a motion to transfer under § 1404(a), the

 defendant, as the party seeking transfer, bears the burden to prove that transfer is appropriate.^


 ^ Plaintiffs claim in their joint Opposition that the moving party bears the burden of proofin both instances.
 See Resp., ECF No. 52, at 5. But that is not the law in this circuit. See, e.g.. Adhikari v. KBR. Inc.. No.
 I:15cvl248, 2016 WL 4162012, at *3 (E.D. Va. Aug. 4, 2016)(citing Bartholomew v. Va. Chiropractors
 Ass'n. Inc.. 612 F.2d 812,816(4th Cir. 1979V overruled on other grounds bv Union Labor Life Ins. Co. v.
 Pireno.458 U.S. 119,125 n.6(1982)); Johnson v. CSX Transp.. Inc.. No.7:06cv00130,2006 WL 2037570,
 at *1 (W.D. Va. July 18, 2006)(citation omitted); see also 14D Wright, Miller & Cooper, Federal Practice
 and Procedure § 3826 (4th ed. 2017)(addressing the circuit split and noting that the "weight of authority,"
 including Fourth Circuit precedent, supports this position). Indeed, the Delaware case cited by plaintiffs.
 In re Mobile Telecommunication Technologies. 243 F. Supp. 3d 478, 483(D. Del. 2017), aligns with the
 minority position embraced by the Third Circuit rather than the majority position embraced by the Fourth
 Circuit. Moreover, Nossen v. Hov. 750 F. Supp. 740, 742 (E.D. Va. 1990), also cited by plaintiffs, is
 inapposite as it deals only with a motion for discretionary transfer under § 1404(a).
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 JTH Tax.Inc. v. Lee. 482 F. Supp. 2d 731,736(E.D. Va. 2007).

        In either case, before granting a motion to transfer, the Court must first satisfy itself that

 the transferee court is in a "district or division in which [the case] could have been brought"

 initially. Convergence Techs.. 711 F. Supp. 2d at 640 (quoting 28 U.S.C. §§ 1404(a), 1406(a)).

 Moreover, in deciding a motion to transfer, the pleadings are not accepted as true, and the Court

 may consider evidence outside the pleadings, including affidavits and declarations. W. Ref.

 Yorktown. Inc. v. BP Com. N. Am. Inc.. 618 F. Supp. 2d 513, 516 (E.D. Va. 2009) (citing

 Sucampo Pharm.. Inc. v. Astellas Pharma. Inc., 471 F.3d 544, 549-50(4th Cir. 2006)).

    III.     MOTION TO TRANSFER PURSUANT TO 28 U.S.C.§ 1406

        In the first part of their motions, the Jackson Hewitt Defendants argue that venue is

 improper in the Eastern District of Virginia and that the Court should therefore transfer each ofthe

 four cases to the District of New Jersey pursuant to § 1406(a). In support, they argue that neither

 Section 12 of the Clayton Act, 15 U.S.C. § 22, nor the general venue statute, 28 U.S.C. § 1391,

 provides a valid basis for laying venue in this Court, and that, by contrast, venue would be proper

 in the District of New Jersey, the defendants' home district. In response. Plaintiffs do not contest

 that venue would be proper in the District of New Jersey, but they insist that venue is proper in

 this district under both the Clayton Act and the general venue statute and that transfer under

 § 1406(a)is therefore unwarranted. The Court will address each of these arguments in turn.

        A.      Section 12 of the Clayton Act

        Plaintiffs' first purported basis for laying venue in this district is Section 12 of the Clayton

 Act, 15 U.S.C. § 22 ("Section 12"), which governs venue in antitrust actions brought against

 corporate defendants. Section 12 states:

        Any suit, action, or proceeding under the antitrust laws against a corporation may
        be brought not only in the judicial district whereof it is an inhabitant, but also in
        any district wherein it may be found or transacts business; and all process in such
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        cases may be served in the district of which it is an inhabitant, or wherein it may be
        found.

 15 U.S.C.§ 22. The statute was intended to be an "enlargement" of the previous venue provisions

 governing antitrust cases and to provide antitrust plaintiffs with a wider choice of forum. United

 States V. Scophonv Corp. of Am.. 333 U.S. 795, 804(1948). "However,[it] was not intended to

 provide a forum-shopping plaintiff with an unfettered choice of venue." King v. Johnson Wax

 Assocs.. Inc.. 565 F. Supp. 711, 714-15(D. Md. 1983).

        Section 12 sets out three possible bases for venue over a corporate defendant. The

 defendant must(1) be an "inhabitant" of,(2) be "found in, or(3)"transact business" in a district

 for venue to be proper there. 15 U.S.C. § 22. For this purpose, being an "inhabitant" of a district

 means the district is in the defendant's state of incorporation. S^ In re Automotive Refinishing

 Paint Antitrust Litig.. 358 F.3d 288, 293 n.6 (3d. Cir. 2004); Omega Homes. Inc. v. Citicorp.

 Acceptance Co.. 656 F. Supp. 393, 397(W.D. Va. 1987)(citation omitted). For a corporation to

 be "found" in a district, the corporation "must have duly authorized 'officers and agents carrying

 on the business of the corporation within the district,'" meaning that such officers and agents are

 engaged in "continuous local activity" there. Revnolds Metals Co. v. Columbia Gas Svs.. Inc..

 669 F. Supp.744,747(E.D. Va. 1987)(internal citations omitted). Lastly, a corporation "transacts

 business" for purposes of Section 12 if the corporation engages in business of"any substantial

 character" in the district, using a "practical, non-technical" sense ofdoing business. United States

 V. Microsemi Corp.. No. I:08cvl311, 2009 WL 577491, at *4 (E.D. Va. Mar. 4, 2009)(citing

 Scophonv. 333 U.S. at 810L see also Revnolds. 669 F. Supp. at 747.

        Where, as here, a plaintiff sues multiple defendants, venue must be established as to each

 defendant. Williams v. Canon. Inc.. 432 F. Supp. 376, 382(C.D. Cal. 1977)(citing Bankers Life

 & Casualtv Co. v. Holland. 346 U.S. 379, 384 (1953)). Moreover, the fact that an alleged co-
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 conspirator of a corporate defendant is "found" in the district is irrelevant to the Section 12 venue

 analysis as to that defendant. Id. Therefore, the issue before the Court is whether Section 12

 establishes venue as to each defendant in the above-captioned cases.

        Plaintiffs argue that each of the Jackson Hewitt Defendants "transacts business" in this

 district as contemplated by Section 12 ofthe Clayton Act and thus can be sued here. S^ Newbauer

 Case, ECF No. 52, at 16. In support, plaintiffs claim that "[t]he Jackson Hewitt Defendants

 individually- and collectively -organized and operated a nationwide tax service," which resulted

 in "extensive" economic connections in Virginia, "including the establishing of dozens of

 franchises within [this] District, hiring and compensating numerous employees, and providing tax

 preparation services to hundreds if not thousands of customers in Virginia." Id

        As an initial matter,the Jackson Hewitt Defendants concede that defendant Jackson Hewitt,

 Inc. ("JHl"), a Virginia corporation, inhabits, is found in, and transacts business in the Eastem

 District of Virginia within the meaning of Section 12. However, relying on the sworn Declaration

 of Victoria McShane, the Director of Franchise Compliance for JHl, the Jackson Hewitt

 Defendants reject plaintiffs' assertion that the remaining Jackson Hewitt Defendants - Tax

 Services of America Inc. ("TSA") and Jackson Hewitt Tax Service Inc. ("JHTSl")- transact

 business in this district within the meaning of Section 12. S^ Newbauer Case, ECF No. 39-1

 (hereinafter, "McShane Deck"). As set forth below, after reviewing this evidence, which is

 unrebutted by plaintiffs, the Court finds that Section 12 of the Clayton Act is not a valid basis for

 laying venue in this Court with respect to any of the four cases.

        First, plaintiffs have not shown that defendant TSA inhabits, is found in, or transacts

 business in this district. TSA is a Delaware corporation, not a Virginia corporation, and therefore

 is not an "inhabitant" of this district within the meaning of Section 12. S^ McShane Decl. ^ 6.



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 Nor is TSA "found" in this district, given that its principal place of business and headquarters are

 in Jersey City, New Jersey and there is no evidence before the Court showing that any of TSA's

 officers or agents carry on continuous local business activity in this district. See id Finally,

 plaintiffs have not shown that TSA "transacts business" in this district. According to the

 unrebutted declaration of Ms. McShane, TSA operates Jackson Hewitt® company-owned

 locations, including five such locations in the Westem District of Virginia, but it does not operate

 any such locations in this district, nor does it have any employees located in this district. Id ^ 12.

 Therefore, there is no evidence before the Court that TSA engages in business of"any substantial

 character" in this district sufficient to lay venue here under Section 12.

        Similarly, plaintiffs have not shown that defendant JHTSI inhabits, is found in, or transacts

 business in this district within the meaning of Section 12. Like TSA, JHTSI is a Delaware

 corporation with its principal place of business in New Jersey and thus is not an "inhabitant" of

 this district. Id T| 7. Nor have plaintiffs shown that JHTSI is "found" in or "transacts business" in

 this district. As set forth in the unrebutted McShane Declaration, JHTSI"does not own or operate

 Jackson Hewitt® locations; it does not enter into franchise agreements; and ...[it] does not have

 any employees." Id      8. Rather, it is "for all intents and purposes, a holding company of the

 Jackson Hewitt® family of companies," including JHI and TSA. Id

        Though plaintiffs try to impute JHI's business activities in this district to JHTSI as JHI's

 parent company, plaintiffs fail to establish the requisite connection between the entities for this

 purpose. As this Court explained in Revnolds."the essential element required before a court may

 pierce the corporate veil to [find proper venue as to] the foreign parent is control over the conduct

 of the subsidiary that allegedly violated antitrust laws." 669 F. Supp. at 748. Here, the only

 evidence before the Court on this point is Ms. McShane's sworn statement that "JHTSI does not
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 supervise or otherwise exercise control over the operations of JHI or TSA."             McShane Decl.

 ^ 8, Plaintiffs have not refuted this claim. Therefore, plaintiffs have failed to establish the requisite

 element ofcontrol to find proper venue with respect to JHTSI under Section 12 ofthe Clayton Act.

 Cf DataCell ehf. v. Visa. Inc.. No. 1:14-CV-1658, 2015 WL 4624714, at *4(E.D. Va. July 30,

 2015)(Lee, J.)(finding that MasterCard did not satisfy venue provision of Cla34on Act or satisfy

 minimum contacts to be sued in Virginia because it "is a New York company that holds stock and

 does little else. It is not found, nor does it conduct business in Virginia.").

         In summary, of the three Jackson Hewitt Defendants, which are named as defendants in

 each of the four cases, plaintiffs can only establish Section 12 venue as to defendant JHI. But, as

 noted above, venue must be established as to each defendant. Therefore, plaintiffs in each of the

 four cases have failed to show that Section 12 of the Clayton Act provides a valid basis to lay

 venue in this Court.

         B.      The General Venue Statute,28 U.S.C.§ 1391

         Notwithstanding their venue arguments under the Clayton Act, plaintiffs contend that

 venue is properly laid in this Court pursuant to the general venue statute, 28 U.S.C. § 1391, which

 "govem[s] the venue of all civil actions brought in the district courts of the United States." 28

 U.S.C. § 1391(a). This section provides that a civil action may be brought in:

        (1)a judicial district in which any defendant resides, if all defendants are residents
         ofthe State in which the district is located;

        (2) a judicial district in which a substantial part of the events or omissions giving
        rise to the claim occurred, or a substantial part of property that is the subject of the
         action is situated; or

        (3)if there is no district in which an action may otherwise be brought as provided
        in this section, any judicial district in which any defendant is subject to the court's
        personal jurisdiction with respect to such action.

 Id. § 1391(b). Plaintiffs concede that the residual provision of § 1391(b)(3) does not apply, but


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 they argue that venue is proper in each case because all defendants are residents of this district

 within the meaning of§ 1391(b)(1)and because a substantial part ofthe events or omissions giving

 rise to the claim occurred in this district within the meaning of § 1391(b)(2). The Court will

 address each of these arguments in turn.

            1.        Venue under § 1391(b)(1)

        The first issue is whether all defendants in each case are residents of Virginia within the

 meaning of § 1391(b)(1) and, if so, whether at least one defendant resides in this district. For

 purposes of this section, a defendant entity is deemed to reside "in any judicial district in which

 such defendant is subject to the court's personal jurisdiction with respect to the civil action in

 question." Id § 1391(c). Section 1391(d) provides additional venue rules for determining the

 residency of corporations in States with multiple districts like Virginia:

        For purposes of venue under this chapter, in a State which has more than one
        judicial district and in which a defendant that is a corporation is subject to personal
        jurisdiction at the time an action is commenced, such corporation shall be deemed
        to reside in any district in that State within which its contacts would be sufficient
        to subject it to personal jurisdiction ifthat district were a separate State, and,ifthere
        is no such district, the corporation shall be deemed to reside in the district within
        which it has the most significant contacts.

  Id.§ 1391(d).

                 a.      Determining Residencv of Corporate Defendants

        When applying § 1391(b)(1) to corporate defendants, this Court has held that personal

 jurisdiction and venue are similar but not identical questions, with the jurisdictional inquiry

 focusing on contacts with the forum state and the venue inquiry focusing on contacts with the

 forum district See Global Touch Solutions. LLC v. Toshiba. Corp.. 109 F. Supp. 3d 882, 891-92

 (E.D. Va. 2015)(Davis, J.)(collecting cases). Therefore, for each corporate defendant, a district

 court must first determine ifsuch defendant is subject to personaljurisdiction in Virginia by having

 sufficient minimum contacts therein. Id. at 891. The Court must then determine ifsuch defendant

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  has sufficient minimum contacts in the forum district. Id at 892. If so, the corporation is deemed

 to "reside" there for venue purposes. Id If the corporation does not have sufficient minimum

 contacts in any ofthe judicial districts in the State, it will be deemed to reside in the district within

 which it has the "most significant" contacts. 28 U.S.C. § 1391(d).

        "A federal district court may only exercise personal jurisdiction over a foreign corporation

 ifsuch jurisdiction is authorized by the long-arm statute ofthe State in which it sits and application

 of the long-arm statute is consistent with the due process clause of the Fourteenth Amendment,

 U.S. Const, amend. XIV § 1. Consulting Engineers Corp. v. Geometric Ltd.. 561 F.3d 273, 277

 (4th Cir. 2009)(citation omitted). The relevant portion of Virginia's long-arm statute provides:

 "A court may exercise personal jurisdiction over a person, who acts directly or by an agent, as to

 a cause of action arising from the person's . ..[t]ransacting any business in this Commonwealth

 [or] . . . "[cjausing tortious injury by an act or omission in this Commonwealth . . ." Va. Code

 Ann. § 8.01-328.1(A)(1), (3). The exercise of personal jurisdiction is proper, then, only if the

 asserted cause of action "arises from"the non-resident defendant's transacting business or causing

 tortious injury in Virginia. "Because Virginia's long-arm statute is intended to extend personal

 jurisdiction to the extent permissible under the due process clause, the statutory inquiry merges

 with the constitutional inquiry." Consulting Engineers. 561 F. 3d at 277(citation omitted).

         With respect to the constitutional inquiry, the corporation must have sufficient "minimum

 contacts" with Virginia as required under International Shoe Co. v. Washington. 326 U.S. 310

 (1945), and its progeny. The Fourth Circuit has "synthesized the due process requirements for

 asserting specific personal jurisdiction in a three part test," jd at 278, which considers "(1) the

 extent to which the defendant purposefully availed itself of the privilege of conducting activities

 in the State;(2)whether the plaintiffs' claims arise out of those activities directed at the State; and



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 (3)whether the exercise ofpersonaljurisdiction would be constitutionally reasonable,"jd (quoting

 ALS Scan. Inc. v. Digital Serv. Consultants. Inc., 293 F.3d 707,712(4th Cir. 2002)).

                b.      Analysis

        Based on the above, determining whether venue is proper under § 1391(b)(1) is a

 defendant-based inquiry. In the Endres and Robinson Cases, the three Jackson Hewitt Defendants

 (all corporations) are the only named defendants. In the Newbauer and Gibson Cases, Bayside

 Capital, Inc.("Bayside") and Corsair Capital, LLC ("Corsair") are named defendants along with

 the Jackson Hewitt Defendants.


        As an initial matter, the Jackson Hewitt Defendants admit that defendant JHI, a Virginia

 corporation, has significant contacts within Virginia, including in the Eastern District of Virginia,

 because JHI "is the franchisor of the Jackson Hewitt® brand and provides ... support to Jackson

 Hewitt® franchisees in the Commonwealth," including several franchisees in this district.

 McShane Decl. H 10. Therefore, the Jackson Hewitt Defendants concede that JHI is deemed to

 reside in this district for purposes of §1391(b)(1). The issue then is whether each remaining

 defendant "resides" in Virginia as required to lay venue here under that provision.

                         i.    TSA "Resides" in Virginia.

        Based on the evidence before it, the Court finds that defendant TSA, a Delaware

 corporation, "resides" in Virginia for purposes of § 1391(b)(1). The Jackson Hewitt Defendants

 admit that TSA conducts business in Virginia. S^ Newbauer Case, ECF No. 39 at II.

 Furthermore, according to the unrebutted McShane Declaration, TSA operates five company-

 owned Jackson Hewitt® locations in Virginia, including in Martinsville, Danville, and Stuart.

 McShane Decl. H 12. Therefore, TSA clearly satisfies Virginia's long-arm statute and has

 sufficient minimum contacts in Virginia to be subject to the Court's personal jurisdiction in



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  Virginia.^       Reynolds. 301 F. Supp. 2d at 551 ("A nonresident corporation consents to

 jurisdiction in a state's courts by actually doing business in that state ...[and] availing] itself of

 the protections of that state's laws ..

                          ii.     But All Remaining Defendants Do Not'^Reside" in Virginia.

         However, the Court finds that plaintiffs have failed to show that all remaining defendants

 also "reside" in Virginia for purposes of establishing venue under § 1391(b)(1). As noted above,

 Defendant JHTSI is a Delaware corporation and,for all intents and purposes, is a holding company

 for JHI and TSA.        McShane Decl.^ 7. It does not conduct any business or have any employees

 or agents in Virginia, nor does is it supervise or direct the actions of its subsidiaries in Virginia.

 Id ^ 12. Similarly, defendants Bayside and Corsair (sued in the Newbauer and Gibson Cases),

 which are the former and current majority-owners of JHTSI, respectively, are foreign entities and

 do not have any offices or employees in Virginia. See Declaration of Jeremy Schein, Newbauer

 Case,ECF No. 39-2,^ 5; Declaration of Richard Siegel, Newbauer Case, ECF No. 39-3, H 5.

         "Generally, a foreign parent corporation is not subject to the jurisdiction of a forum state

 merely because its subsidiary is present or doing business there[.]" Hargrave v. Fibreboard Corp..

 710 F.2d 1154, 1159(5th Cir. 1983). Therefore, unless plaintiffs can pierce the corporate veil as

 to the remaining defendants in each case, JHI's contacts in Virginia cannot be attributed to these

 remaining defendants for venue purposes.           Wince v. Easterbrooke Cellular Corp..681 F. Supp.

 2d 688,692(N.D.W. Va. 2010)(finding that a parent company did not have sufficient minimum

 contacts in West Virginia because it "is merely a Delaware holding company that conducts no

 business and sells no services or products in West Virginia, or elsewhere[;]... it has no employees


 ^ Even though it appears that TSA only has sufficient minimum contacts in the Westem District of Virginia,
 not in this district, the Court need only determine whether TSA resides in the State for purposes of§ 1391(b)
 because the Jackson Hewitt Defendants concede that at least one of the defendants in each case - JHI -
 resides in the Eastem District of Virginia. See 28 U.S.C. § 1391(b)(1).

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 or real property in West Virginia, it is not licensed to do business in West Virginia, it has no

 registered agent in West Virginia, and it does not advertise in West Virginia."); cf Roanoke

 Cement Co.. LLC v. Chesapeake Prod.. Inc.. No. 2:07cv97, 2007 WL 2071731, at *6 (E.D. Va.

 July 13, 2007)(Morgan, J.)(finding that a foreign holding company could be hailed into court in

  Virginia because its officers "ignored corporate formalities in negotiating on behalf of [its

 subsidiary in Virginia]" and therefore could not "hide behind the fiduciary shield of their

 directorship or corporate offices to avoid personal jurisdiction").

        Here, plaintiffs have not alleged that defendant JHTSI has ignored any corporate

 formalities with respect to JHI or TSA, nor have plaintiffs rebutted Ms. McShane's sworn

 declaration that "JHTSI does not supervise or otherwise exercise control over the operations of

 JHI or TSA." McShane Decl.^ 8. Therefore, based on the evidence before it, the Court finds that

 defendant JHTSI does not have sufficient minimum contacts in Virginia to be sued here and thus

 cannot "reside" here for venue purpose. Furthermore, because JHTSI is named in each ofthe four

 cases, the fact that JHTSI does not reside in Virginia means that § 1391(b)(1) fails to establish

 proper venue in each case.

            2.      Venue under § 1391(b)(2)

        Regardless, plaintiffs argue that § 1391(b)(2) permits venue to be laid in this district

 because "a substantial part of the events or omissions giving rise to the claim[s]" in each case

 occurred here. 28 U.S.C. § 1391(b)(2). Determining whether venue is proper under this provision

 requires a two-part analysis.     Daniel v. Am. Bd. of Emereencv Med.. 428 F.3d 408, 432(2d

 Cir. 2005). First, the court must identify the nature ofthe claims and the acts or omissions that the

  plaintiff alleges give rise to those claims. Id. Second, the court must determine whether a

 substantial part of those acts or omissions occurred in this district. Id When deciding the second

 part

                                                  is
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        [the] analysis looks to the "entire sequence of events underlying the claim," not
        only "those matters that are in dispute or that directly led to the filing ofthe action."
        Mitrano v. Hawes. 377 F.3d 402, 405 (4th Cir. 2004). However, events or
        omissions "that might only have some tangential connection with the dispute in
        litigation are not enough." CMA CGM. LLC v. RLI Ins. Co.. No. 12-cv-03306,
        2013 WL 588978, at *2 (D. Md. Feb. 13, 2013)(quoting Cottman Transmission
        Svs.. Inc. V. Martino. 36 F.3d 291,294(3d Cir. 1994)). In other words, courts "take
        seriously the adjective *substantial.'" Gulf Ins. Co. v. Glasbrenner. 417 F.3d 353,
        357(2d Cir. 2005).

 See Adhikari v. KBR.Inc.. No. I:15cvl248, 2016 WL 4162012, at *4(E.D. Va. Aug.4, 2016).

        At the hearing on the motions to transfer, plaintiffs argued that, for purposes of this

 analysis, the Court should consider the claims of all purported class members, many of whom

 allegedly reside in and were allegedly harmed by the defendants in the Eastem District of Virginia.

 But "[tjhe law is clear that in determining whether venue for a putative class action is proper,

 courts are to look only at the allegations pertaining to the named representatives." Murdoch v.

  Rosenberg & Assocs.. LLC. 875 F. Supp. 2d 6, 11 (D.D.C. 2012)(quoting Cook v. UBS Fin.

  Srvcs.. Inc.. No.05 Civ. 8842(SHS), 2006 WL 760284, at *6 n.2(S.D.N.Y. Mar. 21,2006)(citing

 7A Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice and Procedure

 § 1757 (3d ed.) and United States ex rel. Sero v. Preiser. 506 F.2d 1115, 1129 (2d Cir. 1974)).

 "Courts accordingly focus on facts relevant to a named plaintiffs claim in determining venue and

 reject attempts to venture into the facts as may be relevant to prospective class members." Id

 Therefore, the Court now turns to a case-by-case venue analysis under § 1391(b)(2), relying only

 on those claims asserted by the named plaintiffs in each action,

                a.      The Newbauer Case

        Plaintiff Carson Newbauer alleges that, between January 2005 and the present,the Jackson

 Hewitt Defendants, along with defendants Bayside and Corsair, engaged in per se violations of

 Sections 1 and 3 of the Sherman Act, 15 U.S.C. §§ 1,3, when they conspired to suppress wages

 and eliminate competition for labor among the Jackson Hewitt Defendants and their franchisees

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  by entering into and enforcing certain no-poach and no-recruit agreements with their franchisees.

 See Newbauer Case, ECF No. 1, UTI 108-111. According to the complaint, Newbauer is an

 individual residing in Saginaw, Michigan, who, during the purported class period,"worked as an

  Assistant General Manager for franchise locations ofJackson Hewitt that were owned by the same

 franchisee, Dara Ana Tax Service." Newbauer Case, ECF No. 1, H 14. Newbauer claims that he

 received lower compensation for such employment than he otherwise would have received in the

 absence of the alleged conspiracy and thus has been "injured in [his] property" and has suffered

 damages. Id. ^ 112.

         Based on these allegations, a substantial part of the events or omissions giving rise to

 Newbauer's claims obviously arose in Michigan, where Newbauer resides, where he was allegedly

 employed by a Jackson Hewitt franchisee, where he was allegedly harmed by antitrust violations,

 and where labor competition between the Jackson Hewitt Defendants and his employer was

 allegedly suppressed."* Additionally, certain relevant acts or omissions may have occurred in New

 Jersey to the extent the Jackson Hewitt Defendants negotiated, entered into, and/or enforced the

 allegedly unlawful agreements from their principal place of business. But there is no substantial

 connection between the events underlying Newbauer's claims and the Eastern District of Virginia.

         Nevertheless, plaintiffs argue that when conducting a § 1391(b)(2)analysis, the Court must

 consider "the entire sequence of events underlying the claim," which, in plaintiffs' view, includes

 the history of JHI, which was founded and headquartered in the Eastern District of Virginia for

 seventeen years before it moved to New Jersey. 0pp., ECF No. 51, at 11 (quoting Mitrano v.

 Hawes. 377 F.3d 402,405 (4th Cir. 2004)). Plaintiffs claim that the allegedly unlawful no-poach


  Though not expressly stated in the complaint, Dara Ana Tax Service, the alleged owner of the franchise
 locations where Newbauer worked,is based in Saginaw, Michigan where Newbauer allegedly resides. See
 Michigan's Department of Licensing and Regulatory Affairs(LARA),Corporations Online Filing System,
 https://cofs.lara.state.mi.us/CorpWeb/CorpSearch/CorpSearchResults.aspx (last visited March 25,2019).
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  and no-recruit agreements at issue were "likely" established in Jackson Hewitt's standard franchise

 agreement while JHI was still headquartered in Virginia. Id. at 12-13. However, as alleged in the

 complaint, Newbauer's claims are limited to the purported class period beginning in 2005, which

 is six years after JHI moved its headquarters from Virginia Beach, Virginia to New Jersey in 1999.

 See McShane Decl. ^ 5. Therefore, the Court finds that any purported connection between

 Newbauer's claims and JHI's former headquarters in Virginia Beach is merely "tangential" and

 therefore insufficient to establish venue under § 1391(b)(2).            Adhikari. WL 4162012, at *4

 (internal citation omitted).

                 b.      The Robinson Case

         In the Robinson Case, plaintiff Jessica Robinson alleges essentially the same Sherman Act

 violations as those alleged in the Newbauer Case except Robinson sues only the Jackson Hewitt

 Defendants and she alleges "antitrust injury" stemming from her employment with a Jackson

 Hewitt location in Maine, not Michigan.^ Robinson Case, ECF No. 1,               99-106. Specifically,

  Robinson alleges that she resides in Rockland, Maine and that she "worked as a Tax Preparer

 primarily at Jackson Hewitt's Rockland, Maine location from 2017 through 2018." Id ^ 6. She

 claims that the defendants' antitrust conspiracy "severely limited [her]job mobility and served to

 significantly suppress [her] compensation" during the time she worked for Jackson Hewitt. Id.

 11111,6.

         Based on these allegations, § 1391(b)(2) fails to establish venue in the Robinson Case for

 the same reasons it fails in the Newbauer Case. All the significant events or omissions underlying

 Robinson's claims occurred either in Maine, where she was employed by Jackson Hewitt and

  where her alleged antitrust injury occurred, or in New Jersey, the defendants' principal place of



 ^ Robinson also defines the relevant class period as beginning in 2003 rather than 2005. Id. ^ 79.
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 business. No such events or omissions occurred in the Eastern District of Virginia. Furthermore,

 plaintiffs' reliance on JHI's historical ties to this district fails for the same reasons it fails in the

 Newbauer Case. Indeed, Robinson's alleged term of employment with Jackson Hewitt began in

 2017, eighteen years after JHI moved its headquarters from Virginia Beach to New Jersey.

        In sum, plaintiff Robinson has failed to show that "a substantial part of the events or

 omissions" giving rise to her claims occurred in the Eastern District of Virginia and therefore has

 failed to show that venue is proper in this district pursuant to § 1391(b)(2).

                c.       The Gibson Case

        In the Gibson Case, plaintiff Nicole Gibson brings her purported class action against the

 Jackson Hewitt Defendants and defendants Corsair and Bayside, and she alleges essentially the

 same violations ofthe Sherman Act as those alleged in the Newbauer and Robinson Cases above.^

 See Gibson Case, ECF No. 1,        89-98. Gibson alleges that, from 2000 to 2016, she worked for

 Jackson Hewitt as a tax preparer. Id H 17. Though she alleges that she is a Pennsylvania resident,

 she does not allege where she was employed by Jackson Hewitt. Id Gibson claims that, as a

 direct result of the defendants' alleged antitrust conspiracy, "[she] suffered reduced wages,

 reduced employment benefits, loss of professional growth opportunities, and worsened working

 conditions because of the express restraint of trade among Jackson Hewitt and Jackson Hewitt

 franchisees." Id. ^ 91.

         Based on these allegations, a substantial part of the events and omissions giving rise to

 Gibson's claims occurred either where she was employed with Jackson Hewitt (presumably

 Pennsylvania) or in New Jersey, where one or more of the Jackson Hewitt Defendsints were

 negotiating, entering, and/or enforcing the allegedly unlawful non-competition agreements with



 ^ Gibson defines her purported class period as beginning in 2003.     Gibson Case, ECF No. 1,199.
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 Gibson's Jackson Hewitt location(s). As noted above,Gibson's complaint does not clarify whether

 she worked for Jackson Hewitt in her state of residence, Pennsylvania. But she does not allege

 that she worked for Jackson Hewitt in the Eastern District of Virginia. Nor do any other events or

 omissions giving rise to her antitrust claims occur in this district. Moreover, as with the two

 previous cases, JHI's former operations in Virginia Beach are not substantially connected to

 Gibson's claims given that Gibson allegedly began her employment with Jackson Hewitt in 2000,

 after JHI moved its headquarter to New Jersey.

        In sum,like the plaintiffs in the Newbauer and Robinson Cases, plaintiff Gibson has failed

 to show that "a substantial part of the events or omissions" giving rise to her claims occurred in

 the Eastern District of Virginia and therefore has failed to show that venue is proper in this district

 pursuant to § 1391(b)(2).

                d.      The Endres Case

        Lastly, the Court turns to the Endres Case. In Endres. plaintiffs Tom Endres, Latonya

 Fields, and Laura Metz bring a purported class action against the Jackson Hewitt Defendants,

 alleging essentially the same violations ofthe Sherman Act as alleged in the other three cases.

 Endres Case, Amended Complaint, ECF No. 10,            101-108. Each plaintiff in Endres alleges that

 he or she worked as a tax preparer at a Jackson Hewitt location during the purported class period

 (2003-present) and suffered suppressed wages and other harms as a result of the defendants'

 alleged conspiracy to restrain trade by entering into certain "anticompetitive agreements." Id.

 116-8,105.

        However,the Endres Case is clearly distinct from the previous three cases for purposes of

 the venue inquiry because one of its named plaintiffs, Laura Metz, resides in the Eastern District

 of Virginia. Id 1 8. Indeed, plaintiff Metz alleges that she resides in Virginia Beach, that she

 worked as a tax preparer and supervisor at Jackson Hewitt's Norfolk and Virginia Beach locations
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 from 2007-2013, and that she received suppressed wages from such employment as a result ofthe

 defendants* alleged conspiracy. Id Given these allegations, the Court finds that a substantial part

 of the events or omissions giving rise to the claims in the Endres Case occurred in this district.

 Therefore, unlike the plaintiffs in the Newbauer, Robinson, and Gibson Cases, the plaintiffs in the

 Endres Case have met their burden to show that venue is properly laid in this Court imder 28 U.S.C

 § 1391(b){2).

        C.       Conclusion

        In summary, upon consideration of the Jackson Hewitt Defendants' § 1406 motions to

 transfer based on improper venue in each case, the Court finds that the plaintiffs in the Newbauer,

 Robinson, and Gibson Cases have failed to show that either oftheir two purported bases for laying

 venue in this Court- Section 12 of the Clayton Act, 15 U.S.C. § 22, or the general venue statute,

 28 U.S.C.§ 1391 -establishes proper venue in their respective cases. The Court further finds,and

 the parties have agreed, that venue in each such cases would be proper in the District of New

 Jersey, Newark Division.

        Therefore, the Jackson Hewitt Defendants' Motions to Transfer filed in the Newbauer,

 Robinson, and Gibson Cases are hereby GRANTED, and such cases shall be transferred to the

 District of New Jersey, Newark Division, pursuant to 28 U.S.C. § 1406(a).

        However, with respect to the Endres Case, the Court finds that plaintiffs have met their

 burden to show that venue is proper in this Court under 28 U.S.C. § 1391(b)(2). Therefore, the

 Jackson Hewitt Defendants'§ 1406(a)motion to transfer the Endres Case based on improper venue

 is hereby DENIED. Below, the Court shall address whether transfer of the Endres Case is

 nonetheless warranted under 28 U.S.C. § 1404(a).




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    IV.      MOTION TO TRANSFER PURSUANT TO 28 U.S.C.§ 1404

        With the Jackson Hewitt Defendants prevailing on their § 1406 motions in all but the

 Endres Case, the only remaining issue before the Court is whether transfer of the Endres Case is

 justified under 28 U.S.C. § 1404(a).

        A.        Applicable Law

        The decision whether to transfer a civil action pursuant to § 1404 is committed to "the

 sound discretion ofthe district court." Beam Laser Svs.. Inc. v. Cox Commc'ns.Inc.. 117 F. Supp.

 2d 515,517(E.D. Va. 2000). In making that determination, the Court must consider "(1) whether

 the claims might have been brought in the transferee forum; and(2)whether the interest ofjustice

 and convenience of the parties and witnesses justify transfer to that forum." Nader v. McAuliffe.

 549 F. Supp. 2d. 760, 762(E.D. Va. 2008)(intemal quotation omitted). The second prong of that

 analysis involves weighing several factors, including:"(1)the plaintiffs [initial] choice of venue;

 (2) witness convenience and access; (3) the convenience of the parties; and (4) the interest of

 justice." Id. at 763(intemal quotation omitted). As noted above, the party seeking transfer under

 § 1404(a) bears the burden to prove that transfer is appropriate. Lee. 482 F. Supp. 2d at 736.

        B.        Discussion


        As an initial matter, there is no dispute that the Endres Case could have been brought in

 the requested transferee forum,the District ofNew Jersey(Newark Division). Therefore, the issue

 is whether the Jackson Hewitt Defendants have met their burden to show that the relevant § 1404(a)

 factors ultimately weigh in favor of transferring the Endres Case.

             1.      Plaintiffs' Choice of Venue

          With respect to the first factor, the Jackson Hewitt Defendants argue that the plaintiffs'

 choice of venue in the Endres Case "is entitled to no weight" because the initial iteration of the

 lawsuit was brought by Endres, an Illinois resident, and Fields, a Mississippi resident, who have

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  no ties to the Eastern District of Virginia.            Endres Case, ECF No. 14, at 18 (citing, e.g..

  Advanced Mktg. Svs.. LLC v. Delhaize Am.. LLC. No. 2:15CV74, 2015 WL 12806533, at *3

 (E.D. Va. July 31,2015)(finding that where plaintiff is not at"home" in chosen venue, plaintiffs

  choice of venue is "not entitled to substantial weight")). Defendants further argue that plaintiff

  Laura Metz, who is the only plaintiff at "home" in this district, was added after the lawsuit was

  already filed "in a transparent effort at forum-shopping." Id

          In response, plaintiffs acknowledge that "the weight given to plaintiffs choice of venue

  varies with the significance of the contacts between the venue chosen by plaintiff and the

  underlying cause of action." 0pp., ECF No. 24, at 19 (quoting Bd. of Trustees. Sheet Metal

  Workers Nat. Fund v. Bavlor Heating & Air Conditioning. Inc.. 702 F. Supp. 1253, 1256 (E.D.

  Va. 1988)). However, plaintiffs argue that plaintiff Metz's strong ties to the Eastem District of

  Virginia, which is also where she allegedly worked at Jackson Hewitt locations and allegedly

 suffered from suppressed wages and other antitrust injuries, constitute significant contacts with

 this district that justify giving Metz's choice offorum substantial weight.^ Id at 20.

          Upon consideration of the first factor, the Court finds it significant that only one of the

 three named plaintiffs is at home in this district, and such plaintiff(Metz) was added after the

 lawsuit was originally filed. That said, Metz's choice offorum when filing the amended complaint

 should still have some weight given that both she and her claims have significant contacts in this

 district. Therefore, given the totality of the circumstances, the Court finds that the plaintiffs'




'In their joint Opposition, plaintiffs also argue that their choice offorum in this case should receive even
greater weight than normal because Congress "intended" to give plaintiffs a wide choice of venue by
 enacting a "liberal venue provision" for antitrust cases, namely, Section 12 of the Clayton Act. See ECF
 No. 24, at 20 (citing Trustees of the Plumbers & Pipefitters Nat. Pension Fund, v. Plumbing Servs.. Inc..
 791 F.3d 436,444-45 (4th Cir. 2015)(applying same logic in ERISA case)). However, as stated above,
 plaintiffs have failed to establish proper venue under Section 12 of the Clayton Act. Therefore, this
 argument is without merit.

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 choice of venue weighs moderately against transfer.

             2.     Witness Convenience and Access to Proof

         The second factor requires the Court to weigh the convenience to witnesses and access to

 proof in litigating in either venue. "The party asserting witness inconvenience has the burden to

  proffer, by affidavit or otherwise, sufficient details respecting the witnesses and their potential

 testimony to enable the court to assess the materiality of evidence and the degree of

 inconvenience." Koh v. Microtek IntT. Inc.. 250 F. Supp. 2d 627,636(E.D. Va. 2003).

         Here, the Jackson Hewitt Defendants, via sworn declaration of Ms. McShane, assert the

 following facts to show that the District ofNew Jersey is the more convenient forum for witnesses:

 (1) defendants are not aware of any material witness located in the Eastem District of Virginia

 "that would have unique information or unique documents" relevant to the case;(2)each potential

  witnesses is located outside of Virginia, "with the vast majority located in New Jersey,"(3) any

 relevant documents or information, including the custodians thereof, are located outside of

  Virginia,"with the vast majority located in New Jersey," and(4)"[m]ost other potentially relevant

  witnesses, custodians, and documents are located at an office in Sarasota, Florida." McShane

 Decl., ECF No. ECF No. 14-1, H 15.

         In response, plaintiffs argue that Defendants have not met their burden with respect to the

 second factor because the McShane Declaration only demonstrates inconvenience to Defendants'

 "own party wimesses;" but "the wimess convenience factor is primarily aimed at facilitating

 convenience for non-party witnesses." ECF No.24 at 25(emphasis added)(citing Prod. Grp. Int'l.

 Inc. V. Goldman.337 F. Supp. 2d 788,800(E.D. Va. 2004)). Plaintiffs further argue that whether

 certain witnesses have"unique knowledge"is irrelevant to the transfer analysis; rather,the relevant

 inquiry is what evidence is likely to be presented by the parties and where that evidence is most

 conveniently accessed. Id

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        After considering the above, the Court finds that Defendants' evidentiary support for the

 witness-convenience factor is limited because it lacks specificity as to which witnesses and

 evidence are likely to be presented and where such witnesses and evidence are likely to be found.

 See Koh. 250 F. Supp. 2d at 636. That said, Defendants have presented credible evidence that

 certain records custodians and other likely witnesses are in New Jersey. For this reason, the Court

 finds that the second factor is inconclusive in the § 1404 analysis.

            3.      Convenience of the Parties

        The third § 1404(a)factor considers the convenience of the parties. Defendants argue that

 the District of New Jersey is clearly the more convenient forum for Defendants given that they are

 all headquartered in Jersey City, New Jersey, and they do not have offices or employees located

 in the Eastern District of Virginia. McShane Decl., ECF No. 14-1,      4,6-8, 12. However, when

 considering convenience to the plaintiffs, the result is mixed because one plaintiff(Endres)resides

 in Illinois, one plaintiff(Fields)resides in Mississippi, and one plaintiff(Metz)resides in Virginia

 Beach. Therefore,for two plaintiffs, neither venue is particularly convenient, whereas for the third

 plaintiff, the Eastern District of Virginia is obviously more convenient.

        In sum, when comparing the convenience of all six parties, the District of New Jersey

 appears to be the more convenient forum. Nevertheless, plaintiffs argue that transfer is not

 warranted on this ground because § 1404(a) does not permit a defendant to "merely shift the

 balance of inconvenience in defendant's favor." ECF No. 24 at 26(citing Goldman. 337 F. Supp.

 at 799-800). However, the Goldman case cited by plaintiffs involved a single plaintiff who filed

 suit in his home district. 337 F. Supp. 2d at 799. Here, by contrast, only one of the plaintiffs

 resides in the Eastern District of Virginia, and she was added as a party after the suit was filed.

 Therefore, the Court does not find that transfer would cause a mere shifting of the balance of

 inconvenience in Defendants' favor. Accordingly, the third factor weighs in favor of transfer.
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            4.      The Interest of Justice

        The final § 1404(a) factor considers the interest of justice, which "encompasses public

 interest factors aimed at 'systemic integrity and fairness.'" Bverson v. Eauifax Info. Servs.. LLC.

 467 F. Supp. 2d 627,635(E.D. Va. 2006)(internal citation omitted). "Most prominent among the

 elements ofsystemic integrity are judicial economy and the avoidance ofinconsistentjudgments."

 Id. Furthermore,"fairness" considers several factors including docket congestion and "the interest

 in having local controversies decided at home." Id

        In support of transfer. Defendants focus on two such factors:(I) their interest in having a

 local controversy decided in their home district and (2) the plaintiffs' concerted forum-shopping

 efforts, which, according to Defendants, damages the systemic integrity of the courts. ECF No.

 14 at 22. Defendants further argue that, although securing a place in the "Rocket Docket" ensures

 less docket congestion and a faster time-to-decision, these conditions cannot be "the primary

 reason for retaining a case in this district." ECF No. 14 at 20 (citing High Point SARL v. Sprint

 Nextel Com.. No.2:08cv625,2009 WL 10671368, at *9(E.D. Va. May 18,2009)(intemal citation

 omitted)). For the reasons below, the Court agrees.

        It is apparent from the procedural history ofthis case that plaintiffs' choice to file here was

 at least partly motivated by forum-shopping. As Defendants point out in their motion, the Endres

 complaint was initially filed in the United States District Court for the District of New Jersey until

 the plaintiffs voluntarily dismissed such complaint and refiled it in this Court.       Tom Endres.

 et al. V. Jackson Hewitt Inc.. et al.. No. 18-cv-17452(D.N.J.). This switch occurred approximately

 one month after the Newbauer Case was filed in this Court. The Endres plaintiffs argue that this

 switch of venue was a good-faith effort to coordinate and consolidate their action with the other

 related cases to promote judicial efficiency. However, the Newbauer Case it followed to the
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 Eastern District of Virginia did not have proper venue in this district, nor did the Robinson or

 Gibson Cases filed here shortly thereafter.      supra Part III.

        Moreover, at the time the Endres Case was originally filed in this Court, Metz - the only

 Virginia-based plaintiff- was not yet a party to the case. In fact, before the Endres plaintiffs filed

 their amended complaint on February 11, 2019, none of the named plaintiffs in any of the four

 cases was a Virginia resident.     Newbauer Case,ECF No. 1; Endres Case,ECF No. 1; Robinson

 Case, ECF No. 1; Gibson Case, ECF No. 1. Given these circumstances, the Court finds that the

 plaintiffs' choice offorum in the Endres Case is considerably outweighed by concerns for systemic

 integrity and fairness for purposes of§ 1404(a).

        Lastly, the Court has considered the fact that the other three cases - the Newbauer,

 Robinson and Gibson Cases - which raise essentially the same issues of law and fact as those

 raised in the Endres Case, will be transferred to the District of New Jersey as set forth above. In

 general, the pendency ofa related action in the transferee forum and the potential for consolidating

 the related actions weigh in favor of transfer. Coors Brewing Co. v. Oak Beverage. Inc.. 549 F.

 Supp. 2d 764, 773 (E.D. Va. 2008). Therefore, given the likelihood of consolidation of these

 matters, transfer of the Endres Case would promote judicial efficiency, avoid the risk of

 inconsistent rulings, and therefore promote the interest ofjustice.

        In summary, upon consideration of all the § 1404(a) factors, the Court finds that

 Defendants have met their burden to show that the interest ofjustice and convenience ofthe parties

 and witnesses justify transfer ofthe Endres Case. Accordingly,Defendant's motion to transfer the

 Endres Case pursuant to § 1404(a) is hereby GRANTED,and such case is TRANSFERRED to

 the District of New Jersey, Newark Division.




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    V.         CONCLUSION


          For the reasons set forth above, the Court hereby ORDERS as follows:

          1.     In the Newbauer Case, No. 2:18cv679, the Jackson Hewitt Defendants' motion to

 transfer pursuant to 28 U.S.C. § 1406(a) is hereby GRANTED, ECF No. 38, and such case is

 TRANSFERRED to the United States District Court for the District of New Jersey, Newark

 Division.


          2.     In the Endres Case, No. 2:19cv37, defendants' motion to transfer pursuant to 28

 U.S.C. § 1406(a) is DENIED,ECF No. 11, but such motion is GRANTED pursuant to 28 U.S.C

 § 1404(a). Therefore, the Endres Case is hereby TRANSFERRED to the United States District

 Court for the District of New Jersey, Newark Division.

          3.     In the Robinson Case, No. 2:19cv44, defendants' motion to transfer pursuant to 28

 U.S.C. § 1406(a) is hereby GRANTED,ECF No. 12, and such case is TRANSFERRED to the

 United States District Court for the District of New Jersey, Newark Division.

          4.     In the Gibson Case, No. 2:19cv49, the Jackson Hewitt Defendants' motion to

 transfer pursuant to 28 U.S.C. § 1406(a) is hereby GRANTED, ECF No. 22, and such case is

 TRANSFERRED to the United States District Court for the District of New Jersey, Newark

 Division.


          The Clerk is DIRECTED to forward a copy of this Opinion and Order to all Counsel of

 Record and to ensure that an electronic copy of all the files are forwarded to the United States

 District Court for the District of New Jersey, Newark Division.

          IT IS SO ORDERED.


                                                                   STATES DISTRICT JUDGE

 Norfolk, VA

  March        2019


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